   Case 6:21-cr-00138-GAP-EJK Document 77 Filed 10/18/22 Page 1 of 1 PageID 254

                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

UNITED STATES OF AMERICA

VS.                                            CASE NO: 6:21-cr-138-GAP-EJK

KEITH INGERSOLL


                            REPORT AND RECOMMENDATION
                             CONCERNING PLEA OF GUILTY

      The Defendant, by consent, has appeared before me pursuant to Fed. R. Crim. P.

11, Local Rule 1.02, and In re: Authority of United States Magistrate Judges of the

Middle District of Florida, Case No. 8:20-mc-100-T-23 (October 29, 2020), and has

entered a plea of guilty to Counts One through Five of the Superseding Information.

After cautioning and examining the Defendant under oath concerning each of the

subjects mentioned in Rule 11, I determined that the Defendant entered the plea of

guilty knowingly and voluntarily and that there is a factual basis for the plea. I therefore

recommend that the plea of guilty be accepted. The Defendant remains on conditions of

release pending sentencing.

Date: October 18, 2022




                                        NOTICE

      A party waives the right to challenge on appeal a finding of fact or conclusion of law

adopted by the district judge if the party fails to object to that finding or conclusion within

fourteen days after issuance of the Report and Recommendation containing the finding or

conclusion.
